NJM:AFM

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA AFFIDAVIT IN SUPPORT
OF REMOVAL TO THE
- against - CENTRAL DISTRICT OF
CALIFORNIA
JOHNATHAN BUMA, (Fed. R. Crim. P. 5)
Defendant. Case No. 25-MJ-95
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EASTERN DISTRICT OF NEW YORK, SS:

Steven Deck, being duly sworn, deposes and states that he is a Special Agent with
the Federal Bureau of Investigations (“FBI”), duly appointed according to law and acting as
such.

On or about March 17, 2025, JOHNATHAN BUMA was taken into custody at a
departure gate at John F. Kennedy International Airport (“JFK Airport”), where he was a ticketed
passenger waiting to board an outbound international flight.

On or about March 18, 2025, a criminal complaint was filed in the United States
District Court for the Central District of California, charging JOHNATHAN BUMA with
violating Title 18, United States Code, Section 1905 (disclosure of confidential information).

The source of your deponent’s information and the grounds for his belief are as

follows: !

Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause as to the defendant’s identity, I have not described all the relevant facts
and circumstances of which I am aware.

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Case 1:25-mj-O0095-LKE Document1 Filed 03/18/25 Page 2 of 20 PagelD #: 2

l. On or about March 18, 2025, a complaint issued in the United States
District Court for the Central District of California (the “Complaint”’) charging JOHNATHAN
BUMA with violating Title 18, United States Code, Sections 1905. A true and correct copy of
the Complaint is attached hereto as Exhibit A.

os The defendant was arrested at JFK Airport on March 17, 2025, at
approximately 10:00 P.M. by FBI personnel. The defendant stated to me that his name was
“Johnathan Buma.” I also recognized the defendant from previous encounters in the course of
this investigation and from photographs of the defendant that I have previously reviewed.

2, Based on the foregoing, | submit that there is probable cause to believe
that the defendant is the JOHNATHAN BUMA charged in the Central District of California.

WHEREFORE, your deponent respectfully requests that the defendant

JOHNATHAN BUMA be removed to the Central District of California so that he may be dealt

Steven Deck
Special Agent
Federal Bureau of Investigation

with according to law.

Sworn to before me this
18th day of March, 2025

THE HONORABLE LARA Kk. ESHKENAZI
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK

“” "Case 1:25-mj-00095-LKE. Document 1 Filed 03/18/25. Page 3 of 20PagelD#3 °°

EXHIBIT A

-}o°
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20) () Original (© Duplicate Original

UNITED STATES DISTRICT COURT

FILED
for the CLERK, U.S. DISTRICT COURT
Central District of California 3/18/2025

CENTRAL DISTRICT OF CALIFORNIA

United States of America
By: _tsn_——séDEPUTY

Vv.

Johnathan Buma, Case No.

Defendant

CRIMINAL COMPLAINT BY TELEPHONE
OR OTHER RELIABLE ELECTRONIC MEANS

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date of November 2, 2023, in the county of Orange in the Central District of California, the
defendant violated:
Code Section Offense Description
18 U.S.C. § 1905 Disclosure of Confidential Information
This criminal complaint is based on these facts:
Please see attached affidavit.

Continued on the attached sheet.

/s/

Complainant's signature

Steven Deck, Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. . P. 4.1 by telephone.

March 18, 2025 at 6:36 a.m.

Date: _—__

Judge's signature

City and state: _Los Angeles, California Hon. Stephanie S. Christensen, U.S. Magistrate Judge

Printed name and title

AUSA: David Ryan
AFFIDAVIT

I, Steven Deck, being duly sworn, declare and state as

follows:
I. PURPOSE OF AFFIDAVIT
1. This affidavit is made in support of a criminal
complaint against Johnathan Buma (“BUMA”), for a violation of

Title 18, United States Code, Section 1905 (Disclosure of
Confidential Information).

2. The facts set forth in this affidavit are based upon
my personal observations; my training and experience; and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the requested complaint and
does not purport to set forth all of my knowledge of or
investigation into this matter. Unless specifically indicated
otherwise, all conversations and statements described in this
affidavit are related in substance and part only, all amounts or
sums are approximate, and all dates and times are on or about
those indicated.

II. BACKGROUND OF AGENT

3. I am a Special Agent of the FBI and have been so
employed since 2017. Since approximately January 2018, I have
been assigned to the FBI's New York Field Office,
Counterintelligence Division. During my tenure with the FBI, I
have participated in counterespionage and counterintelligence
investigations and, among other things, have conducted or

participated in surveillance, the execution of search warrants,
and the review of stored electronic information for evidence of
crime. Through my experiences in the field and training
relating to counterespionage and counterintelligence and related
crimes, I am familiar with some of the tactics, methods, and
techniques of United States persons who possess, or have
possessed a United States Government security clearance and may
choose to harm the United States by misusing their access to
sensitive United States Government information. I am also
familiar, though my training and experience, with the use of
cellphones and computers in criminal activity and the forensic
analysis of electronically stored information.

III. LEGAL BACKGROUND

4. Title 18, United States Code, Section 1905 provides:
“Whoever, being an officer or employee of the United States or
of any department or agency thereof, any person acting on behalf
of the Federal Housing Finance Agency, or agent of the
Department of Justice as defined in the Antitrust Civil Process
Act (15 U.S.C. 1311-1314), or being an employee of a private
sector organization who is or was assigned to an agency under
chapter 37 of title 5, publishes, divulges, discloses, or makes
known in any manner or to any extent not authorized by law any
information coming to him in the course of his employment or
official duties or by reason of any examination or investigation
made by, or return, report or record made to or filed with, such
department or agency or officer or employee thereof, which
information concerns or relates to the trade secrets, processes,

operations, style of work, or apparatus, or to the identity,
confidential statistical data, amount or source of any income,
profits, losses, or expenditures of any person, firm,
partnership, corporation, or association; or permits any income
return or copy thereof or any book containing any abstract or
particulars thereof to be seen or examined by any person except
as provided by law; shall be fined under this title, or
imprisoned not more than one year, or both; and shall be removed
from office or employment.”

IV. SUMMARY OF PROBABLE CAUSE

5. BUMA has worked for the FBI in various capacities for
over 15 years. From 2013 to February 2022, BUMA focused on
counterintelligence and counterproliferation matters. Beginning
in 2018, he was assigned to the FBI’s Los Angeles Field Office
(“FBI-LA”), Orange County Resident Agency (“OCRA”). Until
December 2022, BUMA’s responsibilities included managing
confidential human sources (“CHSs”). From in or around January
2023 to November 2023, he was assigned to a surveillance unit.

6. In 2022, BUMA began to voice his concerns to various
government agencies, the United States Congress, and members of
the news media, regarding the FBI’s handling of certain
investigations in which he was involved in his capacity as a
special agent tasked with managing CHSs.! On Friday, October 27,

2023, BUMA printed approximately 130 files from the FBI’s

1 The government is informing the Court of BUMA’s complaints
in order to provide the Court with all relevant facts. The
Government does not rely on BUMA’s complaints to establish
probable cause. Rather, as described below, the government
relies on the facts and circumstances surrounding BUMA’s
printing, removal, and dissemination of confidential
information.
internal network, several of which summarized information
provided to the FBI by CHSs, some of which were clearly marked
with warnings that made clear that the information was to be
protected. BUMA also printed nine text-file documents which
contained text that had been copied and pasted from reports
which were marked in such a way that made clear that the
information must be protected, and which summarized information
provided to the FBI by CHSs. BUMA also printed out screenshots
of messages he exchanged with an FBI CHS via an encrypted
messaging application (“Encrypted Messaging Application 1”).
After printing those materials, BUMA emailed FBI supervisors
about his intent to go on leave without pay, then left the FBI
office.

7. On Monday, October 30, 2023, BUMA posted several
messages on a social networking site containing excerpts from a
draft of a book he was writing about his career at the FBI.
Between October and December 2023, BUMA emailed a draft of the
book to various individuals. The book draft contained
information that BUMA obtained through his position as an FBI
Special Agent that relates to the FBI’s efforts and
investigations into a foreign country’s weapons of mass
destruction (“WMD”) program. On November 2, 2023, BUMA wrote an
email to various personal associates assisting him in
negotiating a book deal with a publishing company. In that
email, BUMA purported to “give authorization” to the recipients

to share information that was subject to restrictions against
dissemination and that he became aware of in his capacity as an
FBI special agent.

8. In the fall of 2023, a U.S. media entity published an
article containing confidential information related to reporting
that was provided by a CHS to the FBI related to an associate of
a foreign government official and that BUMA knew he had a duty
to protect. The article addressed the same events as those
discussed in certain of the Encrypted Messaging Application 1
messages and documents that BUMA printed from the FBI’s internal
network on October 27, 2023, including documents which were
clearly marked in a way to notify BUMA that he had a duty to
protect the information.

V. STATEMENT OF PROBABLE CAUSE

A. BUMA’s Employment with FBI

9. Based on my review of FBI employment records and my
discussions with other FBI personnel, I know the following:

10. BUMA has been employed by the FBI since September
2008. In 2009, BUMA executed a nondisclosure agreement wherein
he acknowledged having received a security indoctrination
concerning the nature and protection of sensitive information
subject to restrictions against dissemination. As part of the
NDA, BUMA was advised as to the potential criminal consequences
of the unauthorized disclosure, unauthorized retention, or
negligent handling of information subject to such restrictions.

11. Beginning in 2013 and continuing through in or around
February 2022, BUMA served with the FBI as a Special Agent and

Supervisory Special Agent focused on counterintelligence and
counterproliferation matters. Between 2018 and 2022, BUMA held
roles at OCRA, within FBI-LA, directly related to human
intelligence and the management of the CHS policy. BUMA
submitted a resignation letter to the FBI on March 16, 2025.

12. On July 15, 2023, BUMA testified before the United
States Senate Committee of the Judiciary regarding a
“whistleblower complaint” he claimed to have filed with FBI’s
Inspection Division.? Based on my review of the transcript of
that testimony, I know that, according to BUMA, he filed that
complaint in or around January 2022. According to BUMA’s
testimony, his complaint described “in detail numerous acts of
intelligence suppression of [BUMA’s] reporting related to
foreign intelligence and the Capitol riots, [and] retaliatory
acts and defamation of [his] own character through a hyperbolic
narrative of administrative non-compliance ... .” According
to BUMA’s testimony, in November 2022, he had also fileda
complaint with the Equal Employment Opportunity Commission.
Also according to BUMA, following his filing of the EEOC
complaint, he was reassigned to an FBI surveillance squad
located in Orange Country, California.

13. According to information provided by the Department of
Justice’s Office of Inspector General (“OIG”), BUMA filed a
complaint with the FBI’s Inspection Division in January 2022,

asserting that he had been retaliated against as a result of his

2 Statement of Johnathan C. Buma, United States Senate
Committee of the Judiciary (July 15, 2023), available at
https: //www.docdroid.net/hbEcLPL/jonathan-buma-judiciary-jul-15-
pdf.
activities as a whistleblower. FBI’s Inspection Division
referred that complaint to OIG, which ultimately declined to
pursue the matter. BUMA and/or his representatives have
subsequently filed two other complaints with OIG, which
currently remain pending.

14. According to FBI personnel records, in or around
January 2023, BUMA was removed from his roles relating to human
intelligence and management of CHSs. At that time, BUMA was
reassigned to a surveillance unit based in OCRA within FBI-LA.

15. In the fall of 2023, a U.S. media entity (“U.S. Media
Entity 1”) published a video interview of BUMA, in which he
discussed details of intelligence reporting he received, and
expressed his dissatisfaction with how that information was
investigated within the FBI. In that interview, BUMA stated
that he made a whistleblower disclosure to FBI’s Inspection
Division regarding his dissatisfaction, and that he was
retaliated against after making that disclosure

B. October 27, 2023: BUMA Prints Sensitive Documents from
FBI Servers

16. According to information seized from a phone in BUMA’s
possession pursuant to a federal search warrant, on October 27,
2023, BUMA sent a message to a personal associate stating, “took
a halve a Loraz, two beers, a Cialis, and a Bystolic to get it
down. It’s ail [in] Anticipation of what I know k [sic] need to
get and do while there for five or so hours today; which mu
[sic] be my last with my beloved bureau, which gave me so many

opportunities to shine previously: (”
17. Based on activity logs maintained by the FBI, BUMA’s
last day in the FBI-LA’s OCRA office was Friday, October 27,
2023. According to information provided by BUMA's supervisor,
at approximately 6:17PM on October 27, 2023, BUMA wrote an email
to FBI supervisors discussing his complaints regarding his
employment with the FBI and his reassignment to the surveillance
unit. In that email, BUMA also stated that he had exhausted his
paid leave and planned to go on leave without pay starting
Monday, “since I came in the office today to handle
administrative matters.” The next week, BUMA did not report for
duty, and did not respond to communications from his supervisor
inquiring about his plans and status. On Thursday November 2,
2023, BUMA’s supervisor informed him via email that he was being
placed on leave without pay status.

18. Based on my review of FBI surveillance video footage,
on Friday, October 27, 2023 — his last day at FBI prior to
assuming his “leave without pay” status — BUMA arrived at OCRA
shortly before 1:30PM. He arrived wearing a black backpack. He
remained at OCRA for approximately five hours, until
approximately 6:30PM. During that time, based on my review of
FBI internal computer activity logs, BUMA accessed and printed
approximately 130 files from FBI's internal network (the
“Confidential Material”).

19. The Confidential Material included (1) at least eight
sensitive information reports relating to a foreign adversary;

(2) at least eight reports relating to CHS reporting between
2021 and 2022; and (3) at least one product derived from a
sensitive collection method.

20. Additionally, based on my discussions with FBI
personnel who reviewed the documents that BUMA printed, BUMA
also printed from FBI’s internal network on October 27, 2023,
nine text-file documents, all of which have file names ending
with the “.txt” extension. Based on the FBI’s review, the
information contained in these text-file documents appeared to
be copied verbatim from sensitive FBI reports that summarize
information reported to the FBI by CHSs and were marked in such
a way to indicate that BUMA had a duty to protect the
information. The original reports, unlike the text files,
contain various markings reflecting that the reports contain
information which BUMA had a duty to protect. Based on my
experience and training, I believe that BUMA likely created
these text files in order to duplicate the contents of the
original FBI reports in a manner that obscures the restrictions
against disclosing the information in the reports and thereby
evade detection.

21. Additionally, BUMA printed out screenshots of messages
that appear to have been between BUMA and an FBI CHS and were

sent via Encrypted Messaging Application 1.

Cc. October 30, 2023: BUMA Does Not Report for Duty at FBI
and Posts Online Excerpts from His Draft Book About
the FBI

22. In the early morning hours of October 30, 2023, BUMA
made approximately eight posts on a personal social networking

account (Account 1). Based on my review the posts appeared to
be excerpts from several chapters of a book that BUMA is writing
about the FBI.

23. Each post contains a full page of single-spaced text.
The first page of text appears under the header, “Preface.” It
begins, “This book is about my life as a special agent in the
Federal Bureau of Investigation.” The “Preface” goes on to
state that BUMA’s “primary goal is to describe how, and more
importantly, why [he] became a whistleblower with an urgent
message for the American people that needs to be delivered right
away before it’s too late.” BUMA then wrote, “[a]fter drafting
this manuscript, I will resign and travel around the country NOT
to promote myself but to promote the importance of the
information I sacrificed my career to dig out for the American
people with hope it’s not too late.”

24. The next post contains a single-spaced page of text
under the header, “Subject: Chapter 1 - My life leading up to
the FBI.” In that post, BUMA describes his childhood and how
those who knew him “would have never believed” that he would
become “one of the nation’s top performing counterintelligence
agents at catching and flipping Russian spies, combatting
international corruption, trans-national organized crime, and
foreign influence,” nor that he “would become the most
significant whistleblower in FBI history.”

25. The next several posts contain single-spaced pages of
text detailing BUMA’s various assignments in the FBI. The final
post, under the header “Chapter 8 — Untouchables - Edit 1” ends

with, “What happens when certain components of the government

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become compromised? What happens when an FBI agent sees this
from deep inside the Bureau and tries to investigate the
pressing matter through official channels, but is prevented from
doing so and then retaliated against—blackballed and cast aside
by fellow agents he thought were his friends? An agent would
have no choice but to do what I was forced to do - continue
investigating the core matter of concern in compliance with
policy as long as possible, and then use legal instruments for
personal protection as long as possible until muzzled, and then
plead with management to do the right thing, and then take the
information over the Director’s head directly to... Congress,
and then, if suppressed by Congress, go to the media and beg the
people to do the right thing and save their country. That is
what I did and now am doing. I feel I have no choice.”

26. According to BUMA’s FBI-LA supervisor, the supervisor
attempted to contact BUMA on several occasions beginning on
October 30, 2023, and did not receive a reply until November 9,
2023. BUMA’s supervisor formally notified BUMA on November 2,
2023, of his placement on leave-without-pay status. On November
7, and again on November 8, BUMA’s supervisor wrote to BUMA to
ask if the supervisor could go to BUMA’s residence to collect
his government property, including his firearm, badge, and FBI
credentials. On the evening of November 9, BUMA responded and
arranged with the supervisor to meet at OCRA on the morning of

November 13, 2023, to turn in his government property.

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D. October-December 2023: BUMA Sends Personal Associates
Book Drafts Containing Information About FBI
Investigations

27. According to email provider records, between October
and December 2023, BUMA, using his personal email account
(Account 2), emailed chapters of his book draft to various
personal associates. Specifically, BUMA emailed chapters of his
book to the personal email accounts of multiple associates and
family members. According to FBI personnel who reviewed the
book chapters pursuant to a federal search warrant, the book
chapters contain information that relates to the FBI’s efforts
and investigations into a foreign country’s WMD program.

28. On November 2, 2023, BUMA exchanged emails regarding a
publishing deal that BUMA was seeking with a publishing company
for his book. In one such email, directed to a representative
for the publishing company, an individual on the email chain
(“Associate 1”)-who was identified in other emails as BUMA’s
Business and Public Relations Manager-wrote, “the following is
the senior team that has permission to speak with you on all
aspects of the story and book being presented to you at [the
publishing company]” regarding the “life story of whistleblower
Jonathan Buma.” The email then lists eight individuals, and
states, “we are sending the copies of the first draft and
supporting documents” to one of those eight listed individuals,
who “has been in communication with you about the story.”

29. Approximately twenty minutes later, BUMA wrote an
email to Associate 1 (who was one of the eight listed

individuals), in which he purported to “give authorization” to

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the recipients to share information that was subject to
restrictions against dissemination and that he became aware of
in his capacity as an FBI special agent.

30. On December 5, 2023, and again on June 28, 2024, the
FBI's Prepublication Review Office confirmed that it has not
received any contact from BUMA requesting to review a draft book
to determine whether it contains information that is subject to
restrictions against dissemination.

E. Fall 2023: Media Entity Publishes Same Confidential
Information BUMA Printed on October 27, 2023

31. In the fall of 2023, U.S. Media Entity 1 published an
article that contained what it claimed to be information
provided to the FBI by a CHS. This information related to an
associate of a foreign government official. The article states
that its sources for the article include two sources who had
knowledge of what the CHS reported to the FBI.

32. Based on my review of the documents that BUMA printed
on October 27, 2023, I know that BUMA printed from the FBI
internal network the driver’s license photograph and law
enforcement database reports identifying the true name and
personal identifying information of the CHS, and a report that
addresses the same events discussed in the Fall 2023 article.
The Encrypted Messaging Application 1 messages between BUMA and
the CHS that BUMA printed out on October 27, 2023, as discussed
above, also address the same events discussed in the Fall 2023

article.

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33. Furthermore, according to the messages seized froma
phone in BUMA’s possession, in the late fall of 2023, BUMA sent
a message to several individuals discussing his involvement in
several recently published news articles about the CHS.
Specifically, in reference to one such article, BUMA wrote,
“[t]his is a big one,” and stated, “(m]y work is discussed 2/3
tue [sic] way down.” BUMA added that he had “worked w[ith the
author] to make this happen.” Later that same day, BUMA sent
another message linking to the Fall 2023 article by U.S. Media
Entity 1, adding “{hJere’s the new one.” A few minutes later,
BUMA wrote that he had “spoke with [CHS] again this morning to
ensure we are in good terms and that it was not my decision to
burn him as an FBI source.”

34. Accordingly, I believe BUMA disclosed, either directly
or indirectly, certain of the Confidential Materials that he
printed on October 27, 2023, to third parties involved in the
publication of the Fall 2023 article.

PF. November 13, 2023: BUMA Possesses FBI Information in
his Residence

35. On November 13, 2023, federal law enforcement
officials executed federal search warrants for BUMA’s residence
and person. According to FBI Special Agents who executed those
warrants, during the search of BUMA’s residence, agents found
and seized numerous documents including: first, a one-page FBI
document containing content related to the use of aliases and

false information by FBI CHSs; and second, a 15-page document

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containing a compilation of FBI emails and attachments from
between December 2021 and June 2023.

36. During the search of BUMA’s residence, agents did not
locate any of the documents that BUMA printed on October 27,
2023.

G. December 2023: BUMA Possesses FBI Information on his
Personal Email and Cloud Services Accounts

37. In December 2023, the FBI obtained records pursuant to
federal search warrants for Account 2 and another online service
provider account (Account 3). Based on my review of those
records, I know the following.

38. Account 3 contained three photographs that appear to
be printouts of an email thread between BUMA and an FBI
intelligence analyst summarizing information provided to the FBI
by a CHS who was handled by BUMA. Based on the photographs, it
appears the emails were sent on or about May 14, 2020. The
metadata for the images shows that all three were taken on May
26, 2020, in the vicinity of BUMA’s residence in Rancho Santa
Margarita, California.

39. These same photographs were also found during a search
of Account 2.

40. On the evening of March 17, 2025, BUMA was arrested at
JFK International Airport in New York City. BUMA was at a
departure gate and was a ticketed passenger on a flight to a
foreign country leaving later on March 17, 2025.

VI. CONCLUSION

41. For all of the reasons described above, there is

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probable cause to believe that BUMA has committed a violation of
Title 18, United States Code, Section 1905 (Disclosure of

Confidential Information).

Attested to by the applicant in
accordance with the requirements of
Fed. R. Crim. P. 4.1 by telephone on
this 18th day of March, 2025.

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